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lN THE UNITED STATES DlSTRIC'I` COUR'I` FOR 'I`HE
EASTERN .DISTRICT OF VIRGINIA

Alexandria I)ivisi¢n
BOARD OF TRUSTEES, SHEE'I` )
METAL WORKERS’ NAT’L )
PENSION FUND, et al., )
Plaintiffs, ) Case No. 1:180678
)
v. )
)
SOUTHWEST AI.R )
CONDI'I`IONING, INC., )
Defendant. )
!_BBEB

On August 31. 2018, United States Magistrate Judge John F. Andcrson entered a
Repoxt and Recornmendation (“"Report“) in this ERISA and LMRA action,
recommending that plainti ffs’ motion for default judgment be granted Specifically,
Iudge Andcrson recommends that judgment be entered against Southwest Air
Conditioning Inc. in the amount of$184,501.70.

Upon consideration of the record and Judge Anderson’s thorough Report, to which
no objections have been Hled, and having found no clear ert~oc,l

'I`he Court AlOPTS, as its own, the findings of fact and recommendations of the

United States Magistrate Jndge, as set forth in the chort (D¢c. 21).

 

‘ See Diamond v. Coloniaf L)ffe & Acc. Jns. Co., 416 F.3d 3 1 0, 315 (4th Cir. 200$) (in the absence of any
objections to a magistrate’s repon, the court ‘°need not conduct a de novo review, but instead must ‘only
satisfy itself that there is no clear error on the face ot‘ the record in order to accept the
recommendation."’").

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Accordingly,

lt is hereby ORDERED that plaintiffs motion for default judgment (Doc. 17) is
GRANTED. Ccunsel for plaintiff is directed to provide a copy of this Order to
defendant at its last known address

The Clerk of Court is directed to enter Rule 58 judgment in favor of plaintiff and
against Southwe_st Air Condltioning Inc. in the amount of 3184,501.70 - which consists
of $143,263.65 in unpaid contributions, $11,515.27 in intercst. $18,153.11 in liquidated
damages, $3,467.97 in audit fees, and $8,101.70 in attomeys` fees and costs.

The Clerk is further directed to provide a copy of this Ordcr to all counsel of

record and to place this matter among thc ended causes

Alexandria, Vi.rgirtia
September 18. 2018 T_ $_ Euis, 111 __
Unired States Distt\ict lodge

 

 

